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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.                                                Criminal No. 04cr355-08 (CKK)
                                                              (Civil Action No. 12-1745)
 MALVIN PALMER,

    Defendant.


                            MEMORANDUM OPINION & ORDER
                                   (April 16, 2015)

       Presently before the Court is Malvin Palmer’s [888] Letter in Response to the Court’s [866]

Order which the Court shall treat as a motion for reconsideration of its [882] March 30, 2015,

Order denying Palmer’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

for the reasons described herein. On February 25, 2015, the Court issued an [866] Order indicating

that its copy of Mr. Palmer’s [786] Memorandum of Law in Aid of Petitioner Title 28 Section

2255 Motion to Vacate, Set Aside or Correct Sentence was missing page 4. The Court directed

Mr. Palmer to file the missing page or, in the alternative, file a Notice to the Court indicating that

Mr. Palmer preferred that the Court proceed to addressing the merits of his arguments without

page 4 of his Memorandum of Law by no later than March 25, 2015. The Order further indicated

that if the Court did not receive such a filing by the date as directed, then the Court would proceed

to rule on Mr. Palmer’s § 2255 motion as it generally understood the nature of his arguments. No

filing was made in response to the Court’s Order prior to March 25, 2015. On March 30, 2015,

the Court issued an [882] Order and accompanying [883] Memorandum Opinion denying Mr.

Palmer’s [785] Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence. On

April 12, 2015, Mr. Palmer filed a letter explaining that he was unable to meet the March 25, 2015,
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deadline because he was being transferred by the Bureau of Prisons to a different facility and did

not receive the Court’s Order until March 27, 2015. Mr. Palmer included page 4 of his [786]

Memorandum of Law in Aid of Petitioner Title 28 Section 2255 Motion to Vacate, Set Aside or

Correct Sentence as directed which the Court shall treat as a motion for reconsideration of its

previously entered Order denying Mr. Palmer’s § 2255 motion.

       The Court has reviewed page 4 of Mr. Palmer’s Memorandum of Law supporting his §

2255 motion and finds no grounds to disturb its [882] Order denying Mr. Palmer’s [785] Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence and accompanying [883]

Memorandum Opinion. Indeed, page 4 sets forth the language used in the indictment, in the jury

instructions, and on the verdict form that Palmer asserts supports his argument that his counsel

was ineffective for failing to object to Counts IV and VIII of the indictment as duplicitous. The

Court fully discussed the relevant language of the indictment, jury instructions, and verdict form

in reaching its holding that Mr. Palmer’s ineffective assistance of counsel claim related to the

alleged duplicity of Counts IV and VIII was without merit. See Memo. Op. (Mar. 30, 2015), at 7-

13, ECF No. [883]. As such, the information provided in Page 4 does not provide any new

information not previously considered by the Court in reaching its decision. Accordingly, the

Court shall DENY Mr. Palmer’s [888] Letter in Response to the Court’s [866] Order which the

Court is treating as motion for reconsideration.

       For the reasons stated above, it is, this 16th day of April, 2015, hereby

       ORDERED that Malvin Palmer’s [888] Letter in Response to the Court’s [866] Order shall

be treated as a motion for reconsideration of the Court’s [882] March 30, 2015, Order denying Mr.

Palmer’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence; and it is

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further

          ORDERED that Mr. Palmer’s [888] motion for reconsideration of the Court’s [882] Order

is DENIED; and it is further

          ORDERED that the Clerk of the Court shall mail a copy of this Memorandum Opinion &

Order to Mr. Palmer at his address of record.

          IT IS SO ORDERED.




                                                        /s/
                                                    COLLEEN KOLLAR-KOTELLY
                                                    UNITED STATES DISTRICT JUDGE




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